                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE


CLIFTON BRYANT and
JUDY BRYANT,

       Plaintiffs,

vs.                                                                    Case No: 3:12-cv-505

THE STANDARD FIRE INSURANCE CO.,

       Defendant.


                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE



       Come now the parties, through undersigned counsel, and pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, hereby stipulate to the dismissal of this action without prejudice.



                                                       Respectfully Submitted;


                                                       s\Clint J. Woodfin_____________________
                                                       CLINT J. WOODFIN (BPR #016346)
                                                       Attorney for Defendant,
                                                       The Standard Fire Insurance Co.
                                                       800 South Gay Street, Suite 1100
                                                       Knoxville, Tennessee 37929
                                                       (865) 673-8516 (Office)
                                                       (865) 673-8972 (Fax)




                                                       /s/ Travis D. McCarter
                                                       TRAVIS D. MCCARTER (BPR #029293)
                                                       Attorney for Plaintiff
                                                       121 Court Avenue
                                                       Sevierville, TN 37862
                                                       (865) 428-2888 (Office)
                                                       (865) 428-2818 (Fax)



Case 3:12-cv-00505-TWP-CCS Document 9 Filed 07/02/13 Page 1 of 1 PageID #: 74
